EXHIBIT A

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STATE OF WISCONSIN CIRCUIT COURT _ MILWAUKEE sont
. ECvO1264
GLENN BURTON, JR., Minor, by his 0 6 C V 0
' guardian ad litem, SUSAN M.
- GRAMLING, ,

Plaintiffs, ;
, “COMPLAINT
VS.
ute Case No.
AMERICAN CYANAMIDD CO.; oo
ARMSTRONG CONTAINERS, INC.; Case code 30107
_ CONAGRA FOODS, INC.; E.. DUPONT

_ DENEMOURS & COMPANY; LEAD

‘INDUSTRIES ASSOCIATION, INC;

' MILLENNIUM HOLDINGS, LLC; NL
INDUSTRIES, INC., THE ATLANTIC. -
RICHFIELD COMPANY; THE
‘SHERWIN-WILLIAMS COMPANY; ee
-DEPARTMENT OF HEALTH AND. o >
FAMILY SERVICES, STATE OF , - ij L E ‘Dp
WISCONSIN; .

 

 

‘Defendants, . at,
: — . JOHN BARRETT
— Girk ot Creuircourt —

‘Now comes the above-named Plaintiff, by his atiomeys, for a: cause of action against the |

 

 

 

 

” above- named detindant, and alleges and d shows to the Court as follows:
1. . Glenn Burton, Ir. is a minor and is a resident of the State of Wisconsin, residing at 1320 WwW.
‘Locust Street, Milwaukee WL | .

2. Susan M, Gramling is guardian ad litem for Glenn Burton, Jr. and is a resident of the State of

Wisconsin. .
3. The Department of Health and Family Services, State of Wisconsin, has made certain

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payments on behalf of the Plaintiff, with respect to medical, hospital and/or disability expenses

which were incurred by the Plaintiff as a result of the unlawful acts alleged herein. Said Defendant is

joined as a party for the purpose of complying with the provisions of § 803.03 Wis. Stats.

4. American Cyanamid Company (“American Cyanamid”) is being sued in its own capacity and

is a Maine corporation with its principal place of business in New Jersey.

5. Armstrong Containers, Inc. (“Armstrong”) is being sued in its capacity as the saccessor-in-
-interest to the John R. MacGregor Co. and the MacGregor Lead Company, and is a Delaware
. corporation with its principal place of business in Georgia.

6. ~ ConAgra Foods, Inc. (“ConAgra”), the suocessor-in-interest to WP Fuller and Fuller-
"O'Brien, is a Delaware corporation with its principal place of business in Nebraska.

7. EI, DuPont DeNemours & Company (“DuPont”) is aDelaware corporation with its principal

 

place of business in Delaware.

8. Millennium Holdings, LLC (‘“Millennium’), the successor-in-interest to Glidden Paints, isa

Delaware corporation with its principal place of business i in Texas.

 

- . 9. NL Industries, Inc, (“NL Industries”) formerly known as the National Lead Company isa

New Jersey corporation with its principal place of business in Texas.

' 10. The Atlantic Richfield Company ("ARCO"), the successor-in-interest to International

| - Smelting and Refining Company, Anaconda Lead Products Company, Anaconda Sales Company,
Anaconda Copper Mining Company, and International Lead Refining Company, is a Delaware

“corporation with its principal place of business in California,

11. The Sherwin-Williams Company (“Sherwin-Williams”) is an Ohio corporation with its

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principal place of business in Ohio.
12. At all pertinent times, American Cyanamid, Armstrong, ConAgra, DuPont, Millennium, NL

Industries, ARCO and Sherwin-Williams (hereafter referred to collectively as “Industry Defendants”)

together with their agents, servants, employees, alter egos, and predecessor corporations, designed, ©

manufacturéd, processed, marketed, promoted, supplied, distributed and/or sold white lead carbonate
products used as.a pigment in paints and coatings for residential use in the State during the relevant
time period. .

I. FACT. S.
13.  Onorabout February 25, 2002, Glenn Burton, Jr.’s family purchased the property located at
1320 W. Locust Street, Milwaukee, Wisconsin, Thereafter, the 1320 W. Locust Street premises were

" occupied by the Plaintiff and his.family until present time.

 

14. . During the period the Plaintiff has resided at 1320 WwW. Locust Street, Milwaukee, Wisconsin,

‘the surfaces of the residence was coated with paint containing white lead carbonate pigment that was

. designed, manufactured, processed, marketed, promoted, supplied, distributed and/or sold by the: .

Industry Defendants thereby causing the Plaintiff to be exposed to and ingest said white lead
‘carbonate, | -

15.  Thewhite lead carbonate pigment designed, manufactured, processed, marketed, promoted,
supplied, distributed and/or sold by the Industry Defendants was and is an inherently defective and
unreasonably dangerous product. | .
> 16, . Specifically, the white lead carbonate: designed, manufactured, processed, marketed,

promoted, supplied, distributed and/or sold by the Industry Defendants is hazardous because

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exposure of children to white lead carbonate causes severe and permanent injuries, including, but.
not limited to learning disabilities, decrements in intelligence, and deficits ina wide range of

neuropsychological functioning, including visual motor skills, fine motor skills, verbal skills,
| attention and concentration, memory, comprehension and impulse control. It can also cause coma,

seizure eand death.

17. The Industry Defendants designed the white lead carbonate so as to allow them to distinguish

between different grades at the point of sale and promoted the various grades for different purposes

despite the fact that all of the white lead carbonate designed, manufactured, processed, marketed, .

promoted, supplied, distributed and/or sold for use in paint by the Industry Defendants was

functionally interchangeable, physically indistinguishable and identically defective.

18. The Plaintiffis unable to identify the specific manufacturer, supplier and/or distributor of the

 

white lead carbonate present in the residences in which he was exposed, The Plaintiff sinability to
identify the manufacturer, supplier and/or distributor ofthe white lead pigment was snot and is not the
fault of the Plaintiff. .

19. The white lead carbonate designed, manufactured, promoted, and sold by the Industry

. Defendants’ was ina condition not contemplated by the ultimate consumer and x was dangerous to an

extent beyond that which was contemplated by the ordinary consumer.

. 20. Although the use of all leaded pigments was banned i in the United States in 197 8, white lead

carbonate i is still present in and on many homes, schools, hospital and other public and private

_ buildings throughout the State, including the premises located at 3123 North 41" Street, Milwaukee,

Wisconsin.

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21. —_ Industry Defendants knew and/or should have known since at least the early 1900’s that
white lead carbonate is hazardous to human health, and-in particular to children. For example,
in an 1881 booklet entitled “Paints and Painting,” Sherwin-Williams wrote:

“While it is true that carbonate of lead possesses some of the best elements of
_ paint, it is also true that in other respects it is defective.”

In another example, i in its employee newsletter for the month of January 1900,
Sherwin-Williams published the following statement:
“Tt is also familiarly known that white lead is a deadly cumulative poison, while zinc is

innocuous. It is true, therefore, that any pairit is polsonous in proportion to the
. percentage of lead contained in it ”

In an additional example, in its + employee newsletter for the month of May, 1915,

Sherwin-Williams published the following statement:.

 
  

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off after exposure for a year or two.”

22. = The Industry Defendants also knew and/or should have known that there existed, at all. -

relevant times, safer alternatives to the use of white lead carbonate as a pigment for residential paints
and coatings.

. 23, Jn 1971, after decades of medical research hed 'wiarhbiguousty implicated lead pigments,

including white lead carbonate as the major contributing forcein ‘childhood lead poisoning, and at a _

time when the majority of paint and pigment manufacturers had ceased production of whitelead

carbonate, American Cyanamid entered the white lead carbonate market,

‘24. Despite their knowledge that white lead carbonate pigment, when used as designed and as

'. intended, was hazardous to human health, each of the Industry Defendants continued to design, -

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manufacture process, market, promote, supply, distribute and/or sell white lead carbonate pigments,
failed to war of the hazardous nature of white lead carbonate pigment, and failed to adequately test
white lead carbonate pigments.

25, Each of the Industry Defendants also contributed to the creation of a risk of harm to children
when it failed to disclose the hazardous nature of white lead carbonate and instead marketed and.
represented its products containing white lead carbonate as safe.

26. Specifically, the Industry Defendants engaged in promotional campaigns that failed to
disclose the dangers of using and exposing childien to paint and coatings products containing white -
lead carbonate pigments. Further, the Industry Defendants marketed paints and coatings containing
white lead: carbonate as a product that fostered health and well-being and that could be used safely on

interior and exterior surfaces where the presence of children was likely.

 

27, Despite the knowledge of each of the Industry Defendants regarding the hazards of white lead
carbonate when used as a pigment in residential paint, each failed to disclose the dangers of using
‘and exposing children to white lead and each thereby knowingly contributed to the creation of the

_ tisk of harm to the Plaintiff. |

'28. Instead, for decades the Industry Defendants marketed white lead carbonate as a safe product. .

that fostered health and well-being and promoted white lead as a pigment for use in areas inhabited

' . by children.

29, Hach of the Industry Defendants also contributed to the creation of the risk of harm to the
Plaintiff through participation in trade associations such as the Lead Industries Association (“LIA”)

and the National Paint, Varnish, & Lacquer Association (NPVLA), and said activity included, inter

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alia, marketing white lead carbonate as a pigment in paint through misleading advertisements and -

promotions,

30. The LIA is not a party because it is presently under the protection of the bankruptcy laws in

the United States. From at least 1928 through the events material to allegations of this complaint,

the LIA was the agent, sérvant, employee, alter ego, aider and abettor of one ormore of the Industry

Defendants and acted individually and/or within the scope of i its agency, servitude and employment

in promoting and marketing white lead carbonate products used as a pigment in paints and coatings

for residential use in the State of Wisconsin during the relevant time period,
31. Through the LIA and NPVLA, each of the Industry Defendants also sought to suppress all

unfavorable information and publicity about white lead carbonate without regard for the truth of such

information and despite its own contrary knowledge about the severe hazards posed by white lead:

 

carbonate when used as a pigment in paint.

32, As a result of the intentional, negligent and other wrongful ‘conduct of the Industry

"Defendants in designing, manufacturing, processing, marketing, promoting, supplying, distributing
. and/or selling white lead carbonate, said hazardous product is present in and on thé residence located
at 1320 W. Locust Street, Milwaukee, Wisconsin.

33, _ Beginning on or about August 1 9, 2002, the Plaintiff sustained lead poisoning by ingesting
white lead carbonate derived from intact accessible painted surfaces, paint chips, paint flakes and
-dust that was derived from paints and coatings in and on the residence located at the premises located
at 1320 W. Locust Street, Milwaukee, Wisconsin. | .

34. During the course of his residency at 1320 W. Locust Street, Milwaukee, Wisconsin, the

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Plaintiff continued to be poisoned by the ongoing ingestion of white lead carbonate derived from the
surfaces of the aforementioned premises which were painted with paints and coatings containing said
pigment.

35. At all relevant times, the conduct of the Defendants was malicious and in reckless and/or
intentional disregard for the rights of the Plaintiff.

36. Asa direct and proximate result of these and other wrongful actions by the Defendants, the
Plaintiffhas suffered severe and permanent injuries, including, but not limited to, great pain ofbody

-and mind and significant neurological deficits, past and future hospital and medical expenses, and
impairment of the Plaintiff's ability to live and enjoy life, all in an unspecified amount pursuant to

. Wisconsin Statutes, .

. I. CAUSES OF ACTION

 

FIRST CAUSE OF ACTION
Strict Liability (Industry Defendants)

37. The Plaintiffre-alleges and incorporates herein by reference the foregoing paragraphs of this
. complaint.
38. The Industry Defendants have at all times material to this action been. engaged: in the business

of designing, manufacturing, promoting selling, distributing, and/or supplying of white lead

carbonate which was used in the painting, staining, construction of, and the maintenance and .

remodeling of the residence located at 1320 W. Locust Street, Milwaukee, Wisconsin.

39. The white lead carbonate that the Plaintiff was exposed to was in substantially the same -

condition as it was before leaving the control of the Industry Defendants.

40. At the time that the White lead carbonate left the possession and control of the Industry

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Defendants, it was a defective and unreasonably dangerous product because, when used in the .

manner in which it was intended to be used and/or for the purpose that it was reasonably foreseeable :

it may have been used, it caused substantial and severe injuries to the Plaintiff.

41, The defective condition of the white lead carbonate designed, manufactured, marketed,
promoted, supplied, distributed and/or sold by Industry Defendants was a factor that substantially
contributed to the Plaintiff's injuries.

SECOND CAUSE OF ACTION
Negligence (Industry Defendants) —

 

42. The Plaintiffre-alleges and incorporates herein by reference the foregoing paragraphs of this

; complaint.

43. The Industry Defendants knew or should have known that white lead carbonate when used as

 

44, Despite the knowledge that white lead | carbonate poséd an unreasonable risk to the health and

welfare of children exposed ‘thereto, the Industry. Defendants contimied to design, mannfacture,
promote, sell, distribute, and/or supply white lead carbonate which was used in and on i the residence

located at 1320 W. Locust Street, Milwaukee, Wisconsin.

45. Atall times material hereto, the Industry Defendants were under an obligation of due care to

refrain from any act which would catise foreseeable harm to others.

46. —Atall times material, the Industry Defendants were under a continuing duty to warn about the

hazards of their white lead carbonate products.

47. - TheIndustry Defendants also owed a heightened duty ofc care because their conduct diet
impacted the health and welfare of childreti- .

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48. The Industry Defendants breached their duties ‘by engaging in conduct that posed an

unreasonable risk of harm, including, among other things:

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selling white lead carbonate without warning the general public, including but not

limited to, consumers, ultimate users, retailers, wholesalers, third party paint
manufacturers, and other intermediaries, of the dangerous characteristics thereof
continuing to fail to adequately warn the general public of the dangerous

characteristics of white lead carbonate following the sale of its product through the

present time;

failing to adequately test white lead carbonate for use in residential paints and

coatings; and/or

continuing to design, manufacture, promote, sell, distribute, and/or supply white lead

 

carbonate for use in residential paints and coatings when they knew, or in the .

exercise of ordinary care, should have known that white lead carbonate was harmful

to children and other persons coming into contact with it.

49. The negligence of the Industry Defendants was @ factor that substantially contributed to the
Plaintiff s injuries. |
WHEREFORE the Plaintiff demands judgment against each Defendant, jointly and severally,
as follows:
1, For the Plaintiff, Glenn Burton Jr., in an unspecified amount pursuant to Wisconsin Statutes,
| including but not limited to compensatory and punitive damages; .
2. For pre-judgment and post-judgment i interest, together with the costs, disbursements of this

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action;
3. For.any other remedy the court deems just and equitable under the circumstances.

PLAINTIFF HEREBY DEMANDS A JURY TRIAL.

J

Dated at Milwaukee, Wisconsin, this Ze day of ?. Cpe ke— 2006.

 

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